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3D Modeling of Lockheed Electra Model 10E and Analysis of Video Footage from the
TIGHAR 2010 Nikumaroro Expedition

By: Jay Vincelli, MSc

February 28, 2014

Introduction:

I, Jay Vincelli of Materials Science Associates, performed 3D modeling of components from the
Lockheed Electra Model 10E for analysis of the 2010 1920x1080 Tighar Nikumaroro ROV
video. The purpose of this analysis was to determine whether the dimensionally accurate 3D
models were consistent with features observed at the proposed crash site. I am a qualified and
experienced Materials Engineer who specializes in metrology and 3D modeling. Previous
experience includes creating 3D models using computer aided design (CAD) for 3D printing of a
miniaturized oxygenator, for which a patent application was submitted, and creating 3D models
of metallic bearing components for wear analysis as part of my Master’s degree thesis. I have
previously worked for the US Navy performing failure analysis of structural components on
aircraft. Further qualifications are included in my CV.

Positively identifying wreckage of historical significance, located in a remote area of the planet
and under hundreds of feet of ocean waters is challenging and requires a scientific approach to
methodology. Photointerpretation, as explained by the forensic image analysis expert working
with TIGHAR, Jeff Glickman, includes taking the following list of items into consideration’.

1, Differences in organic (natural) vs. man-made shapes.

2. Texture differences between objects within a neighborhood.

3. Pattern differences between objects within a neighborhood.

4. Color differences within multiple color spaces within a neighborhood.

5. Color absorption differences (spectrometry) between specific objects.

6. Temporal similarities vs. differences between video frames.

7. Object size and scale information which may be relative, absolute and ratiometric
(mensuration).

8. Object interaction with its environment.

9. Location information including absolute position, relative position and context.

Methods:

Our team’s methodology began with a frame by frame review of the underwater videos of the
proposed crash site provided by TIGHAR, dated 2010 and also reviewed 2012 footage. These
were viewed to visually identify potential objects associated with the Lockheed “Electra” Model
10E, Construction Number (c/n) 1055 aircraft, cabin contents andthe crew members Ancla  —_—_—_—___
Earhart and navigator Fred Noonan, The potential candidates included those suggested by our EXHIBIT |

team members and others identified by other individuals in public forums. A full range of items E

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from specific plane parts to highly speculative and imaginative proposals were given
consideration. From this group of potential candidates, those most suited for evaluation by
mensuration, where selected for geometric comparison with specific objects or parts associated
with the aircraft and it’s last flight. We relied upon historical photographs of the plane and of
objects similar to those which were in the original plane for establishing the relative size and
geometry of objects. Since the original biue prints of the plane were not available, we made use
of the limited edition scale drawings completed by aircraft modeller William F. Harney in 2002
and published by TIGHAR in 2009. To corroborate the drawings and historical photographs, we
inspected and photodocumented two of the approximately twelve Lockheed Electra Model 10s
currently in existence, One of the documented aircraft was as a Model 10A, c/n. 1052, located at
the New England Air Museum in Windsor Locks, CT, the second was the only remaining Model
10E, Electra, c/n 1042, owned by, Grace McGuire of San Diego, CA. The McGuire Electra also
had disassembled parts of the front and rear landing gear available for inspection and
photography.

The geometry of specific, engineered plane components was 3D modeled using Solidworks, an
industry-leading CAD modeling software package. Historical photographs taken of Amelia
Earhart’s Electra Model 10E aircraft, measurements taken from Grace McGuire’s Electra 10
aircraft, and tire information from Earhart’s aircraft inspection (Figure 3) were used to determine
the dimensions of the models.

These 3D models were rotated and superimposed on proposed objects from still images taken
from the 2010 rover video using a perspective view. Screenshots and composite screenshots
provided by Fatih Calakli illustrated a cable which could be independently measured based on
the 3D models of the front and rear landing gear assemblies and their overlaid positions in the
rover images, The relative size and shape of multiple geometric elements were used to positively
identify geometric congruence between proposed objects and actual plane parts.

It was important to consider the possibility that objects observed on the slopes of the atoll were
natural formations, derived from the coral reefs growing in shallower water. The accretion of
reefs by corals and other organisms produces limestone objects that can be mistaken fer man-
made objects, particularly when broken and eroded over time. A specialist in coral reef ecology
also reviewed the video and still images to identify objects least likely to be natural and to
confirm that the objects positively identified by mensuration as corresponding to parts of a
Lockheed Electra Model 10, were not merely natural formations and creatures mistaken for man-
made objects. The specialist was also relied upon to comment on the effects of encrustation of
natural debris and man-made objects over time.

Examples of historical objects superimposed upon the video are presented in the Figures Section.

Results:
Using the dimensional information available in the CAD models and the assumption that the

cable was on the same plane as the bottom of the CAD assemblies resting on the sea floor, the
cable was calculated to have an average width of 0.72” with a standard deviation of 0.06” based

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on the tailwheel’s dimensions and an average width of 0.78” with a standard deviation of 0.05”
based on the front landing gear’s dimensions. These measurements were taken within the CAD
modeling software. Independent measurements confirming the same width Master of Science in
Engineering Sciences of the cable suggest that the size and shape of the proposed features on the
sea floor are consistent with the front and rear landing gear assemblies of the Electra Model 10E
aircraft.

Conclusions:

From our review of the data, we have the following conclusions in regard to the 2010 TIGHAR
video footage:

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In addition to the rope/cable and wire clearly seen in the video from 2010, there are other
objects observed which are man-made, by virtue of the fact that they are inconsistent with
natural formations as previously determined by an Aquatic Ecologist, Prof Graham
Forrester, PhD;

There is an object consistent in shape and geometry with a tailwheel as determined by
geometric comparison with the tire and fork from a Lockheed Electra Model 10.

There is a collection of objects atypical of naturally occurring formations in some details
of shape and coloration, but consistent with the front landing wheel, worm gear and strut
assemblies; This object was determined to be more likely man-made than a naturally
occurring formation. Our observation from the 2010 video are consistent with
representation made in the TIGHAR bulletin concerning the 2012 video, where it states,
“We have located a man-made debris field that is in the location that was expected and
for which the shapes of the objects in the debris field are consistent with the object(s)
seen in the Bevington image.” ";

There is a separate debris field, approximately 400 meters from this location with objects
from a known shipwreck (S.S. Norwich City);

The investigations of this region of the ocean floor and debris fields by the TIGHAR
organization did not demonstrate migration of the $.S. Norwich City, shipwreck debris to
the second location;

The objects in the 2010 video are not consistent with the objects from the shipwreck hull
and superstructure debris field located approximately 400 meters away;

The objects we have identified in the 2010 video footage are consistent with parts of the
Earhart Lockheed Electra Model 10 and, in the absence of an alternative explanation for
the source of those objects, we conclude that they are likely to have originated from

Earhart’s Electra.

Sincerely, Jay M. Vincelli, MSc
Materials Science Associates, LLC Forensic Engineer

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Figure 1: This composite image from the 2010 1920x1080 rover footage, created by Fatih Calakii, illustrates the proximity of
the front and rear landing gears.

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2. Mluor repair (see Aero. Bulletin 7-H—Current Issue).

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Figure 2: Amelia Earhart's aircraft inspection report dated 5-19-1937 indicating the condition of her plane.

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z NOTE.—If space provided is insufficient for full statement of result of Inspection, additional data may be shown on extra
sheet.

Figure 3: Amelia Earhart's aircraft inspection report dated 5-19-1937 indicating the condition of her plane and size of the
front wheel and tailwheel.

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Figure 4: CAD model based on Earhart photo with 16 inch wheel (Earhart inspection report).

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Figure 5: The rear landing gear with Amelia Earhart prior to her Miami departure.
(http://tighar.org/Projects/Earhart/Archives/Research/Bulletins/05_Skullduggery/05_Skullduggery.html).
Photo from: http://tighar.org/smf/index.php?topic=571.165

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Figure 6: A composite image of the proposed rear landing gear from the 2010 1920x1080 rover video, created by Fatih
Calakli; 33737.png.

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Figure 7: Still image of the proposed tailwheel from the 2010 1920x1080 rover video.

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Figure 8: Five segments of the cable were bounded by rectangles, representing the cross-section of the rope. The rope was
calculated to have an average diameter of 0.68” with a 0.01” standard deviation based on the CAD model of the tailwheel.

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Figure 9: Five segments of the cable were bounded by rectangles, representing the cross-section of the rope. The rope was
calculated to have an average diameter of 0.76” with a 0.07” standard deviation based on the CAD model of the tailwheel.

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